       Case 2:25-cv-01963-MEF-MAH         Document 227 Filed 05/02/25       Page 1 of 1 PageID:
                                                 2177
                                   UNITED STATED DISTRICT COURT
                                       DISTRICT OF NEW JERSEY
                                      MINUTES OF PROCEEDINGS


OFFICE: NEWARK                                          DATE: May 2, 2025
JUDGE: MICHAEL E. FARBIARZ
COURT REPORTER: Lisa A. Larsen

TITLE OF CASE:
                                                       DOCKET # 25-1963
Mahmoud Khalil
               vs.
Deputy Director William P. Joyce, et al.


APPEARANCES:

Petitioner
Amy Belsher, Esq.

Respondent
Dhruman Yogesh Sampat, DOJ


Nature of Proceedings: TELEPHONE CONFERENCE HELD on the record

Telephone conference held as to the pending request at DE223 and issuance of a briefing
schedule.
Court granted request to amend the petition.


Time Commenced: 12:30
Time Adjourned: 1:00
Total Time: 30 min


                                                RoseMarie Olivieri
                                               SENIOR COURTROOM DEPUTY
